     Case 3:21-cv-00285-MMD-CLB Document 32 Filed 10/26/21 Page 1 of 3



1    Dane W. Anderson, Esq. [Nevada Bar 6883]
     Shay L. Wells, Esq. [Nevada Bar 12130]
2
     Patrick M. Kealy, Esq. [Nevada Bar 13517]
3
     WOODBURN AND WEDGE
     6100 Neil Road, Suite 500
4    Reno, Nevada 89511
     Tel: 775-688-3000 | Fax: 775-688-3088
5    danderson@woodburnandwedge.com
     swells@woodburnandwedge.com
6
     pkealy@woodburnandwedge.com
7
     Attorneys for Plaintiff
8
                                   UNITED STATES DISTRICT COURT
9
                                            DISTRICT OF NEVADA
10

11
     GST INTERNATIONAL, INC., a Nevada
     corporation,
12                                                        Case No.: 3:21-cv-00285
                               Plaintiff,
13                  v.
14
     TOM MARTIN, an individual; BRANDON
15
     RAPOLLA, an individual; KNIGHTS STIPULATION TO EXTEND TIME TO
     CONSULTING & TECHNICAL SERVICES,            FILE OPPOSITION TO
16   INC., a Nevada corporation; LEANNE        DEFENDANTS’ MOTION TO
     MARTIN,       an    individual; HARGETT   DISMISS FIRST AMENDED
17   MATERIALS, INC., a Tennessee corporation;  COMPLAINT (ECF NO. 25)
     JOHN HARGETT, an individual; and DOES 1      (SECOND REQUEST)
18
     through 50, inclusive,
19
                               Defendants.
20

21          Plaintiff GST INTERNATIONAL, INC., a Nevada corporation (“GST”) and
22   Defendants HARGETT MATERIALS, INC., JON HARGETT, TOM MARTIN, LEEANNE
23   MARTIN, and KNIGHTS CONSULTING & TECHNICAL SERVICES, INC. (“Defendants”),
24   by and through their respective counsel of record, hereby stipulate and agree as follows:
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     Case 3:21-cv-00285-MMD-CLB Document 32 Filed 10/26/21 Page 2 of 3



1           1.      The parties agree to extend the October 25, 2021 due date of the Opposition to
2    Defendants’ Motion to Dismiss First Amended Complaint (ECF No. 25), to Thursday,
3    November 4, 2021. The parties previously stipulated to extend the deadline from October 19,
4    2021, to October 25, 2021 (ECF No. 29). The Court approved this extension by minute order
5    entered on October 19, 2021 (ECF No. 30). This additional extension is made in good faith and
6    not for dilatory purposes. The parties are discussing possible resolution of Defendants’ motion
7    and/or possible narrowing of the issues raised in the motion and require the additional time to
8    facilitate discussion among counsel and their respective clients.
9           The undersigned do hereby affirm that the preceding document does not contain any
10   personal information.
11   DATED this 25th day of October, 2021.            DATED this 25th day of October, 2021.
12
            WOODBURN AND WEDGE                                FENNEMORE CRAIG, P.C.
13

14

15   By:    /s/ Dane Anderson______                   By:     /s/ Shannon Pierce_____
            Dane W. Anderson, Esq.                            Shannon S. Pierce, Esq.
16          Nevada Bar No. 6883                               Nevada Bar No. 12471

17          Attorneys for Plaintiff GST                       Attorneys for Defendants Hargett
            International, Inc.                               Materials, Inc., Jon Hargett, Tom
18
                                                              Martin, LeeAnne Martin, and
19                                                            Knights Consulting and Technical
                                                              Services, Inc.
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21     IT IS SO ORDERED.

22     Dated: 10/26/2021                             __________________
                                                     U.S. District Judge
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     Case 3:21-cv-00285-MMD-CLB Document 32 Filed 10/26/21 Page 3 of 3



1                                 CERTIFICATE OF SERVICE
2
            I certify that I am an employee of Woodburn and Wedge, and that on this date, pursuant
3
     to FRCP 5(b), I am serving a true and correct copy of the STIPULATION TO EXTEND TIME
4
     TO FILE REPLY TO DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED
5
     COMPLAINT (SECOND REQUEST) on the parties set forth below by electronic service
6
     effected by CM/ECF to:
7

8     Robert Golden, Esq.                           Shannon Pierce, Esq.
      Nolte Lackebach Siegel                        Fennemore Craig, P.C.
9     One Chase Road                                7800 Rancharrah Parkway
      Scarsdale, NY 10583                           Reno, NV 89511
10    rgolden@nls.law                               spierce@fennemorelaw.com
11

12
     DATED this 25th day of October, 2021.
13
                                                 /s/ Caitlin Pagni___________________
14                                               An Employee of Woodburn and Wedge
15

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